     Case 23-659, Document 121, 10/01/2024, 3634865, Page1 of 18




23-659
E. Fork Funding LLC v. U.S. Bank, Nat’l Ass’n

                          In the
              United States Court of Appeals
                      FOR THE SECOND CIRCUIT



                              AUGUST TERM 2023
                                 No. 23-659

                         EAST FORK FUNDING LLC,
                             Plaintiff-Appellee,

                 NEW YORK STATE ATTORNEY GENERAL,
                            Intervenor,

                                        v.

U.S. BANK, NATIONAL ASSOCIATION, AS TRUSTEE FOR GREENPOINT
     MORTGAGE FUNDING TRUST MORTGAGE PASS-THROUGH
                CERTIFICATES, SERIES 2006-AR6,
                     Defendant-Appellant.



            On Appeal from the United States District Court
                 for the Eastern District of New York



                         ARGUED: FEBRUARY 29, 2024
                         DECIDED: OCTOBER 1, 2024
    Case 23-659, Document 121, 10/01/2024, 3634865, Page2 of 18




Before:      LOHIER and MENASHI, Circuit Judges, and LIMAN, Judge. *

      In 2020, Plaintiff-Appellee East Fork Funding LLC filed this
quiet title action against Defendant-Appellant U.S. Bank, N.A., on a
mortgage recorded against East Fork’s property. The mortgage had
already been subject to three foreclosure actions, two of which had
been voluntarily discontinued by the mortgagee. The district court
granted summary judgment in favor of East Fork, holding that under
the Foreclosure Abuse Prevention Act (“FAPA”), enacted in
December 2022, the voluntary discontinuances did not reset the six-
year statute of limitations to bring a foreclosure action. The statute of
limitations therefore continued to run from the commencement of the
first foreclosure action in 2010 and ran out six years later, entitling
East Fork to quiet title. On appeal, U.S. Bank argues that FAPA does
not apply to voluntary discontinuances that took place prior to
FAPA’s enactment, that such retroactive application would be
unconstitutional, and that under pre-FAPA law the voluntary
discontinuances did reset the statute of limitations.

      Whether and to what extent FAPA applies retroactively to
voluntary discontinuances is a novel question of state law and
answering it is necessary to resolve this appeal. We therefore certify
the following question to the New York Court of Appeals: Whether
Sections 4 and/or 8 of the Foreclosure Abuse Prevention Act, codified
at N.Y. C.P.L.R. 203(h) and 3217(e), respectively, apply to a unilateral
voluntary discontinuance taken prior to the Act’s enactment.

      Judge Menashi concurs in a separate opinion. Judge Liman
concurs in a separate opinion.


*Judge Lewis J. Liman of the United States District Court for the Southern
District of New York, sitting by designation.

                                    2
    Case 23-659, Document 121, 10/01/2024, 3634865, Page3 of 18




            ANTHONY R. FILOSA, Rosenberg, Fortuna & Laitman,
            LLP, Garden City, NY (Steven A. Biolsi, Biolsi Law
            Group, P.C., New York, NY, on the brief), for Plaintiff-
            Appellee.

            MARK S. GRUBE, Senior Assistant Solicitor General
            (Barbara D. Underwood, Solicitor General, Ester
            Murdukhayeva, Deputy Solicitor General, on the brief), for
            Letitia James, Attorney General of the State of New York,
            New York, NY, for Intervenor.

            PATRICK G. BRODERICK (Steven Lazar, on the brief),
            Greenberg Traurig, LLP, New York, NY, for Defendant-
            Appellant.



MENASHI, Circuit Judge:

      In 2020, Plaintiff-Appellee East Fork Funding LLC filed this
quiet title action against Defendant-Appellant U.S. Bank, N.A., on a
mortgage recorded against East Fork’s property. East Fork purchased
the property in September 2016. At that time, the mortgage had
already been subject to three foreclosure actions, two of which had
been voluntarily discontinued by the mortgagee: (1) an action
commenced in 2010 and voluntarily discontinued in 2011, (2) an
action commenced in 2011 and voluntarily discontinued in 2016, and
(3) an action commenced in 2016 for which an amended judgment of
foreclosure and sale was issued in 2022.

      The district court granted summary judgment in favor of East
Fork, holding that under the Foreclosure Abuse Prevention Act
(“FAPA”), enacted by the New York State legislature in December

                                  3
    Case 23-659, Document 121, 10/01/2024, 3634865, Page4 of 18




2022, the voluntary discontinuances did not reset the six-year statute
of limitations to bring a foreclosure action. The statute of limitations
therefore continued to run from the commencement of the first
foreclosure action in 2010 and ran out six years later, entitling East
Fork to quiet title. On appeal, U.S. Bank argues that FAPA does not
apply retroactively to voluntary discontinuances that occurred prior
to FAPA’s enactment, that such retroactive application would be
unconstitutional, and that under pre-FAPA law the voluntary
discontinuances did reset the statute of limitations.

      Whether and to what extent FAPA applies retroactively to
voluntary discontinuances is a novel question of state law and
answering it is necessary to resolve this appeal. We therefore certify
the following question to the New York Court of Appeals pursuant to
22 N.Y.C.C.R.R. § 500.27(a) and 2d Cir. R. 27.2(a): Whether Sections 4
and/or 8 of the Foreclosure Abuse Prevention Act, codified at N.Y.
C.P.L.R. 203(h) and 3217(e), respectively, apply to a unilateral
voluntary discontinuance taken prior to the Act’s enactment.

                          BACKGROUND

      In 2006, Sean and Patricia Dros obtained a mortgage loan to
purchase a condominium and parking space in Queens, New York
(together, “the Property”). By 2010, the Droses had defaulted on the
mortgage, and in July 2010 the mortgagee—GMAC Mortgage, LLC—
commenced a foreclosure action. The Droses did not appear in the
action and in May 2011 GMAC voluntarily discontinued it. In
November 2011, GMAC brought a second foreclosure action. The
Droses did not appear in this action either. In 2015, the mortgage was
assigned to U.S. Bank. In February 2016, GMAC voluntarily
discontinued the 2011 action. In July 2016, U.S. Bank commenced a
third foreclosure action. In April 2022, the state court granted U.S.


                                   4
    Case 23-659, Document 121, 10/01/2024, 3634865, Page5 of 18




Bank’s motion to issue an amended judgment of foreclosure and sale
against the Property. The foreclosure sale “has not yet occurred due
to the pending appeal in this action.” Appellant’s Br. 6.

      In 2016, East Fork purchased the Property through a judicial
sale ordered in a separate foreclosure action that the board of
managers of the Droses’ condominium association brought pursuant
to a lien for unpaid common charges. In 2020, East Fork filed this quiet
title action against U.S. Bank seeking to cancel and discharge the
mortgage on the ground that the mortgage’s Schedule A describes a
different property than the Property against which it was recorded
and therefore is not a valid encumbrance on the Property. The parties
filed cross-motions for summary judgment.

      On December 30, 2022, while the summary judgment motions
were still pending, the New York State legislature enacted FAPA.
FAPA provides that “the voluntary discontinuance of [an action on a
mortgage] … shall not … reset the limitations period to commence an
action.” FAPA § 8 (codified at N.Y. C.P.L.R. 3217(e)). The parties then
filed supplemental briefing on the question of whether FAPA would
time-bar any future foreclosure action because, under FAPA, the
voluntary discontinuances of the 2010 and 2011 actions did not reset
the statute of limitations to foreclose on the mortgage.

      On March 23, 2023, the district court granted East Fork’s motion
for summary judgment and denied U.S. Bank’s motion. The district
court held, first, that FAPA applies retroactively to the prior
voluntary discontinuances so that those discontinuances did not reset
the statute of limitations. Thus, the statute of limitations began
running with the filing of the 2010 action, was not reset by the 2011
and 2016 voluntarily discontinuances, and so ran out before East Fork
commenced this quiet title action. Second, it held that retroactive


                                   5
    Case 23-659, Document 121, 10/01/2024, 3634865, Page6 of 18




application of FAPA does not violate the Contracts Clause of the U.S.
Constitution. Third, it held that even if FAPA did not apply to the
prior discontinuances, the statute of limitations had still expired
because the 2011 and 2016 discontinuances did not reset the statute of
limitations even under pre-FAPA law.

                            DISCUSSION

      Under New York law, a property owner may bring an action to
cancel and discharge a mortgage encumbering its property after the
“statute of limitation for the commencement of an action to foreclose
[the] mortgage … has expired.” N.Y. Real Prop. Acts. Law § 1501(4).
The statute of limitations for a mortgage foreclosure action is six
years. N.Y. C.P.L.R. 213(4). “For a mortgage payable in installments,
‘separate causes of action accrue for each installment that is not paid,
and the statute of limitations begins to run, on the date each
installment becomes due.’” 53rd St., LLC v. U.S. Bank, N.A., 8 F.4th 74,
78 (2d Cir. 2021) (alteration omitted) (quoting Wells Fargo Bank, N.A.
v. Burke, 943 N.Y.S.2d 540, 542 (2d Dep’t 2012)). However, once a
mortgage debt is accelerated—such as by commencement of a
foreclosure action—“the entire amount is due and the Statute of
Limitations begins to run on the entire debt.” Id. (quoting Ditmid
Holdings, LLC v. JPMorgan Chase Bank, N.A., 120 N.Y.S.3d 393, 394 (2d
Dep’t 2020)).

      In certain circumstances, parties to a mortgage may
deaccelerate a previously accelerated mortgage loan and thereby reset
the statute of limitations. See N.Y. Gen. Oblig. Law § 17-105. But
whether a mortgagee’s unilateral deacceleration—such as by a
voluntary discontinuance of a foreclosure action—resets the
limitations period has been subject to debate. In 2021, the New York
Court of Appeals held that when a bank accelerates a loan “via the


                                   6
    Case 23-659, Document 121, 10/01/2024, 3634865, Page7 of 18




commencement of a foreclosure action, a voluntary discontinuance of
that action … constitutes a revocation of that acceleration” that resets
the statute of limitations. Freedom Mortg. Corp. v. Engel, 37 N.Y.3d 1,
31 (2021). The question was one of first impression for the New York
Court of Appeals, but Engel concluded that a noteholder may “revoke
an election to accelerate … by an ‘affirmative act’ of the noteholder
within six years of the election to accelerate.” Id. at 28-29.

      In 2022, the New York State legislature enacted FAPA in part
to overrule this holding of Engel. FAPA has ten sections, of which
three are relevant here. Section 4 provides that “[o]nce a cause of
action upon [a mortgage] has accrued, no party may … effect a
unilateral extension of the limitations period.” FAPA § 4 (codified at
N.Y. C.P.L.R. 203(h)). Section 8 provides that “the voluntary
discontinuance of [an action on a mortgage] … shall not … reset the
limitations period to commence an action.” FAPA § 8 (codified at N.Y.
C.P.L.R. 3217(e)). Section 10 provides that “[t]his act shall take effect
immediately and shall apply to all actions commenced on [a
mortgage] in which a final judgment of foreclosure and sale has not
been enforced.” FAPA § 10 (2022 N.Y. Laws, Ch. 821, § 10).

                                     I

      The parties’ arguments on appeal turn mainly on whether the
voluntary discontinuances of the 2010 and 2011 actions—in 2011 and
2016, respectively—reset the limitations clock. If FAPA applies
retroactively to those actions, then the voluntary discontinuances did
not reset the clock and East Fork could be entitled to quiet title. If
FAPA does not apply retroactively to that extent, then the voluntary
discontinuances would have reset the clock assuming the
discontinuances were properly executed under Engel.



                                    7
    Case 23-659, Document 121, 10/01/2024, 3634865, Page8 of 18




      U.S. Bank argues as follows. First, FAPA as a matter of statutory
interpretation does not apply retroactively to a voluntary
discontinuance that occurred prior to FAPA’s enactment. Second,
such a retroactive application of FAPA would violate the Contracts
Clause, the Takings Clause, and the Due Process Clause of the U.S.
Constitution. Third, if FAPA does not apply then the statute of
limitations for bringing a foreclosure action has not run out because
the 2010 and 2011 actions were properly discontinued under Engel.

      East Fork responds with several points of its own. First, FAPA
as a matter of statutory interpretation does apply retroactively to
voluntary discontinuances occurring before its enactment. Second,
retroactive application of FAPA would not be unconstitutional. Third,
if FAPA does not apply then the statute of limitations has run out
because the 2010 and 2011 actions were not properly discontinued
under Engel. Additionally, East Fork contends that it is entitled to
quiet title even if the statute of limitations has not run out because the
mortgage is not a valid encumbrance on the Property, that U.S. Bank
is estopped from arguing otherwise, and that the 2022 amended
judgment of foreclosure and sale is not binding on East Fork due to
jurisdictional and other defects.

      Answering the question of whether and to what extent FAPA
applies retroactively to voluntary discontinuances is necessary to
resolve this appeal and is one of first impression for the New York
Court of Appeals. We therefore certify the following question to the
New York Court of Appeals:

      Whether Sections 4 and/or 8 of the Foreclosure Abuse
      Prevention Act, codified at N.Y. C.P.L.R. 203(h) and
      3217(e), respectively, apply to a unilateral voluntary
      discontinuance taken prior to the Act’s enactment.


                                    8
    Case 23-659, Document 121, 10/01/2024, 3634865, Page9 of 18




                                    II

      We next review the parties’ statutory interpretation arguments
and explain why certification is appropriate in this case. The parties
dispute whether FAPA, as a matter of statutory interpretation, applies
retroactively to voluntary discontinuances that occurred before FAPA
was enacted.

                                    A

      U.S. Bank argues that FAPA’s text does not overcome the
longstanding presumption against the retroactive application of
statutes and that FAPA should not be applied “retroactively to a
voluntary discontinuance that occurred … before FAPA was enacted”
in light of the constitutional concerns that such a retroactive
application would raise. Appellant’s Br. 27.

      First, U.S. Bank invokes the “deeply rooted” presumption
against retroactive legislation. Landgraf v. USI Film Prods., 511 U.S.
244, 265 (1994); see Jacobus v. Colgate, 217 N.Y. 235, 240 (1916)
(Cardozo, J.) (“It takes a clear expression of the legislative purpose to
justify a retroactive application.”); In re Gleason (Michael Vee, Ltd.),
96 N.Y.2d 117, 122 (2001) (“Amendments are presumed to have
prospective application unless the Legislature’s preference for
retroactivity is explicitly stated or clearly indicated.”).

      Second, U.S. Bank contends that FAPA’s text does not
overcome this presumption. It points out that Sections 8 and 10 are
“framed in future words, such as ‘shall’ or ‘hereafter,’” which are
“construed as prospective only.” Kuryak v. Adamczyk, 705 N.Y.S.2d
739, 740 (4th Dep’t 1999) (quoting N.Y. Stat. Law § 51, comment
(McKinney 2024)); see also Landgraf, 511 U.S. at 288 (Scalia, J.,
concurring in the judgments) (“‘Shall take effect upon enactment,’ is
presumed to mean ‘shall have prospective effect upon enactment.’”)

                                     9
    Case 23-659, Document 121, 10/01/2024, 3634865, Page10 of 18




(alteration   omitted).   Section    8   provides     that   a   voluntary
discontinuance “shall not … reset the limitations period.” FAPA § 8
(codified at N.Y. C.P.L.R. 3217(e)) (emphasis added). Likewise,
Section 10 provides that FAPA “shall take effect immediately and shall
apply to all actions commenced on [a mortgage] in which a final
judgment of foreclosure and sale has not been enforced.” FAPA § 10
(2022 N.Y. Laws, Ch. 821, § 10) (emphasis added). U.S. Bank observes
that Section 4 similarly uses the future tense in providing that “no
party may … effect a unilateral extension of the limitations period.”
FAPA § 4 (codified at N.Y. C.P.L.R. 203(h)) (emphasis added).

      U.S. Bank further notes that FAPA uses the term “prior action”
in some sections to explain the effect that a pre-FAPA action has on a
present action, but the statute does not use that term in Section 4 or
Section 8. For example, Section 7 provides that a mortgagee in an
existing action is estopped from arguing that a “prior action” was not
validly accelerated. FAPA § 7 (codified at N.Y. C.P.L.R. 213(4)(a)-(b)).
U.S. Bank argues that FAPA’s use of the term “prior action” in some
sections but not in Sections 4 and 8 indicates that Sections 4 and 8 do
not apply to an action discontinued before FAPA’s enactment. 1

      Third, U.S. Bank urges us to interpret the statute prospectively
so “as to avoid doubtful constitutional questions.” Arizona v. United
States, 567 U.S. 387, 415 (2012); see People v. Viviani, 36 N.Y.3d 564, 579
(2021) (“[A] statute should be construed, whenever possible, in a way
that avoids placing its constitutionality in doubt.”).



1 The Attorney General responds that Section 8 applies to the voluntary
discontinuance of a prior action despite the lack of a specific reference to
“prior actions” because it expressly applies to “the voluntary
discontinuance” of “any action.” FAPA § 8 (codified at N.Y.
C.P.L.R. 3217(e)) (emphasis added).

                                    10
    Case 23-659, Document 121, 10/01/2024, 3634865, Page11 of 18




                                     B

      East Fork counters that, under New York law governing the
retroactive application of statutes, FAPA applies to prior voluntary
discontinuances. “In determining whether a statute should be given
retroactive effect,” New York courts “have recognized two axioms of
statutory interpretation”: (1) “[a]mendments are presumed to have
prospective application unless the Legislature’s preference for
retroactivity   is   explicitly   stated   or   clearly   indicated,”   and
(2) “remedial legislation should be given retroactive effect in order to
effectuate its beneficial purpose.” Gleason, 96 N.Y.2d at 122; see also
Regina Metro. Co. v. New York State Div. of Hous. & Cmty. Renewal,
35 N.Y.3d 332, 370 (2020). New York courts also consider “whether
the Legislature has made a specific pronouncement about retroactive
effect or conveyed a sense of urgency; whether the statute was
designed to rewrite an unintended judicial interpretation; and
whether the enactment itself reaffirms a legislative judgment about
what the law in question should be.” Gleason, 96 N.Y.2d at 122.

      East Fork contends that both axioms apply here. First, FAPA’s
text and legislative history show that the legislature intended for the
statute to apply retroactively. Section 10 states that FAPA “shall apply
to all actions … in which a final judgment of foreclosure and sale has
not been enforced.” FAPA § 10 (2022 N.Y. Laws, Ch. 821, § 10). And
the legislators’ statements likewise indicate that FAPA was intended
to apply to all pending actions. See Special App’x 19 (Committee
Report) (“Section 10 … makes it clear that [FAPA] … will apply to all
such actions commenced where a final judgment of foreclosure and
sale has not been enforced.”); Add. 38-39 (Senate Debate Tr.)
(statement of Senator Brian P. Kavanagh) (“[I]f … an action has been
commenced and is pending at the time this bill comes into effect, then
[FAPA] would apply. But if an action has been concluded,

                                     11
   Case 23-659, Document 121, 10/01/2024, 3634865, Page12 of 18




presumably it would not apply to that action.”). Moreover, the
sponsor of FAPA in the State Assembly explained that the legislation
was designed to have “retroactive effect” in accordance “with the
recent Court of Appeals precedent in the Regina and Gleason cases.”
Add. 33 (Assembly Debate Tr.) (statement of Assembly Member
Helene E. Weinstein).

        Second, FAPA is remedial legislation because it was enacted to
correct how the “law stood at the making of the act.” Am. Hist. Soc’y
v. Glenn, 248 N.Y. 445, 451 (1928) (quoting 1 William Blackstone,
Commentaries *87); see also N.Y. Stat. Law § 54, comment (McKinney
2024)    (“[R]emedial    statutes   are   those   designed    to   correct
imperfections in the prior law.”). The sponsoring assembly member
explained that FAPA is “remedial legislation” that was intended to

        restore the law concerning statutes of limitations in
        mortgage foreclosures cases to where it was before the
        Engel decision … so that foreclosing financial institutions
        are not excused from longstanding statute of limitations
        principles at the expense of New York’s struggling
        homeowners. … The bill … was specifically designed to
        solve the problem created by court decisions which
        veered from our original legislative intent to create a
        narrow and focused foreclosure remedy for mortgage
        lenders and not allow unlimited bites of the foreclosure
        apple.
Add. 33 (Assembly Debate Tr.) (statement of Assembly Member
Helene E. Weinstein); see also Add. 22, 30 (Senate Introducer’s Mem.)
(stating that Sections 4 and 8 were intended to “overrule Engel”).

        East Fork argues that the other Gleason factors also indicate that
FAPA applies retroactively. The legislature conveyed a sense of
urgency by acting quickly to overturn Engel after that decision was


                                    12
    Case 23-659, Document 121, 10/01/2024, 3634865, Page13 of 18




issued and by directing that the act take effect immediately. The
legislature did not regard FAPA as establishing a new legal
requirement but as “clarify[ing] the meaning of existing statutes” and
“restor[ing] longstanding law that made it clear that a lenders’
discontinuance of a foreclosure action that accelerated a mortgage
loan does not serve to reset the statute of limitations.” Special App’x
18-19 (Committee Report); see also Add. 16 (Senate Introducer’s Mem.)
(“[T]he purpose of the present remedial legislation is to clarify the
meaning of existing statutes, codify correct judicial applications
thereof, and rectify erroneous judicial interpretations thereof.”).

       Third, East Fork contends that retroactive application would be
“sensible and equitable” because—in East Fork’s view—the case law
before Engel held that a voluntary discontinuance does not
deaccelerate a loan and reset the statute of limitations. Appellee’s Br.
32 (citing cases that predate Engel).

                                      C

       We have discretion to certify a question to the New York Court
of Appeals “[w]henever it appears … that determinative questions of
New York law are involved in a case pending before [our] court for
which no controlling precedent of the Court of Appeals exists.”
22 N.Y.C.C.R.R. § 500.27(a); see 2d Cir. R. 27.2(a) (“If state law permits,
the court may certify a question of state law to that state’s highest
court.”). When we do so, we retain jurisdiction over the appeal
“pending the state court’s response to the certified question.” 2d Cir.
R. 27.2(a). 2


2 We may certify a question even when the parties have not requested it.
Beck Chevrolet Co. v. Gen. Motors LLC, 787 F.3d 663, 681-82 (2d Cir. 2015). In
any event, the Attorney General, as Intervenor, suggested that we certify


                                     13
    Case 23-659, Document 121, 10/01/2024, 3634865, Page14 of 18




       “We resort to certification sparingly.” Highland Cap. Mgmt. LP
v. Schneider, 460 F.3d 308, 316 (2d Cir. 2006). On the one hand, it is
“our job to predict how the forum state’s highest court would decide
the issues before us,” at least when “sufficient precedents exist for us
to make this determination.” Khan v. Yale Univ., 27 F.4th 805, 831 (2d
Cir. 2022) (quoting DiBella v. Hopkins, 403 F.3d 102, 111 (2d Cir. 2005)).
On the other hand, the “certification of novel or unsettled questions
of state law for authoritative answers by a State’s highest court … may
save time, energy, and resources and help build a cooperative judicial
federalism.” Arizonans, 520 U.S. at 77 (internal quotation marks and
alteration omitted). “[B]asic principles of federalism” suggest that
“the controlling interpretation of the relevant statute be given by
state, rather than federal, courts” because “a federal court ‘risks
friction-generating error when it endeavors to construe a novel state
Act not yet reviewed by the State’s highest court.’” Serio, 261 F.3d at
150 (quoting Arizonans, 520 U.S. at 79).

       In light of these considerations, our decision to certify a
question is discretionary:

       [W]hen exercising that discretion we consider whether:
       (1) “the New York Court of Appeals has not squarely
       addressed an issue and other decisions by New York
       courts are insufficient to predict how the Court of
       Appeals would resolve it”; (2) “the statute’s plain
       language does not indicate the answer”; (3) “a decision
       on the merits requires value judgments and important
       public policy choices that the New York Court of


the question. See Intervenor’s Br. 22 n.11. We have stated that “under these
conditions, a certification request ‘merits more respectful consideration.’”
Allstate Ins. Co. v. Serio, 261 F.3d 143, 154 (2d Cir. 2001) (alteration omitted)
(quoting Arizonans for Off. Eng. v. Arizona, 520 U.S. 43, 78 (1997)).

                                       14
    Case 23-659, Document 121, 10/01/2024, 3634865, Page15 of 18




      Appeals is better situated than we to make”; and (4) “the
      questions certified will control the outcome of the case.”
CIT Bank N.A. v. Schiffman, 948 F.3d 529, 537 (2d Cir. 2020) (quoting
Penguin Grp. (USA) Inc. v. Am. Buddha, 609 F.3d 30, 42 (2d Cir. 2010)).
These factors favor certification in this case.

      First, the New York Court of Appeals has not addressed
FAPA’s retroactive scope, and the rulings of the intermediate
appellate courts are insufficient to predict how the Court of Appeals
would decide the issue. “Although we are not strictly bound by state
intermediate appellate courts, rulings from such courts are a basis for
ascertaining state law which is not to be disregarded by a federal
court unless it is convinced by other persuasive data that the highest
court of the state would decide otherwise.” DiBella, 403 F.3d at 112
(internal quotation marks omitted). For example, “we are unlikely to
rely on lower state court decisions if they appear to conflict with a
ruling of the state’s highest court, the courts are divided on the issue,
or we are convinced by other persuasive data that the highest court
of the state would decide otherwise.” AEI Life LLC v. Lincoln Benefit
Life Co., 892 F.3d 126, 139 n.15 (2d Cir. 2018) (internal quotation marks
omitted). In this case, the decisions of the Appellate Division are not
sufficient to determine how the Court of Appeals would rule. The
Second Department has applied FAPA retroactively to voluntary
discontinuances that occurred prior to FAPA’s enactment. See, e.g.,
GMAT Legal Title Tr. 2014-1 v. Kator, 184 N.Y.S.3d 805, 807 (2d Dep’t
2023); MTGLQ Invs., L.P. v. Singh, 216 A.D.3d 1087, 1088 (2d Dep’t
2023). 3 But some New York courts have declined to follow those

3 The First Department has held that some of FAPA’s provisions apply
retroactively and suggested that the entire statute does too, but it has not
addressed Sections 4 and 8. See U.S. Bank N.A. v. Fox, 216 A.D.3d 445, 446-


                                    15
    Case 23-659, Document 121, 10/01/2024, 3634865, Page16 of 18




decisions on the ground that the Second Department gave “FAPA’s
provisions retroactive effect without so much as mentioning the issue
of ‘retroactivity’ or conducting the analysis required by [Regina
Metropolitan] to determine whether the legislation is to be
retroactively applied.” U.S. Bank N.A. v. Speller, 197 N.Y.S.3d 925, 2023
WL 7174591, at *16 n.4 (N.Y. Sup. Ct. 2023). Indeed, trial courts even
within the Second Department continue to disagree on the issue of
retroactivity. See, e.g., U.S. Bank Tr. N.A. v. Joerger, 214 N.Y.S.3d 876,
885 (N.Y. Sup. Ct. 2024) (“[I]t is clear that FAPA and its amendments
are to be applied prospectively.”); U.S. Bank, N.A. v. Nicholson, 208
N.Y.S.3d 853, 2024 WL 1903298, at *7 (N.Y. Sup. Ct. 2024) (“[T]his
Court holds that both sections 6 and 8 of FAPA … apply
retroactively.”).

       Second, the statute’s plain language does not dictate the
answer. Even if FAPA applies retroactively to all pending actions
involving mortgage contracts signed before the statute’s enactment, it
is not clear whether it must also apply to a noteholder’s voluntary
dismissal—taken before FAPA’s enactment—of a foreclosure action
that itself is no longer pending.




47 (1st Dep’t 2023) (applying FAPA § 6 retroactively); Genovese v. Nationstar
Mortg. LLC, 223 A.D.3d 37, 45 (1st Dep’t 2023) (concluding that “FAPA
applies retroactively” and applying FAPA § 7 retroactively). The trial courts
in the Third Department have disagreed on whether Section 8 applies
retroactively. See, e.g., Newrez LLC v. Kalina, 185 N.Y.S.3d 651, 2023 WL
2721698, at *2 (N.Y. Sup. Ct. 2023) (holding that FAPA § 8 does not apply to
prior voluntary discontinuances because “there is no indication that the
legislative intent was to impair already vested rights”); Ditech Fin. LLC v.
Temple, 201 N.Y.S.3d 920, 2024 WL 105732, at *4 (N.Y. Sup. Ct. 2024)
(holding that “FAPA was intended to have retroactive effect” and applying
FAPA § 8 to a prior voluntary discontinuance).

                                     16
    Case 23-659, Document 121, 10/01/2024, 3634865, Page17 of 18




      Third, FAPA’s interpretation has implications for the New
York mortgage market, New York property owners, and New York
state law governing retroactive application of statutes. 4 To the extent
that the statutory interpretation question implicates state public
policy choices, the New York Court of Appeals is better situated to
answer it.

      Fourth, answering the certified question is necessary to resolve
this appeal. We note that it does not resolve the case entirely. If the
Court of Appeals were to hold that FAPA does apply retroactively to
prior voluntary discontinuances, we would then consider whether
such retroactive application is constitutional. If the Court of Appeals
were to hold that FAPA does not apply retroactively in that way, we
would then consider East Fork’s arguments that the voluntary
discontinuances were invalid even under Engel and that it is entitled
to quiet title even if a foreclosure action is not time-barred. Either way,
however, the retroactivity question must be decided and it will
determine how the appeal will be resolved.

       Finally, certification is particularly appropriate here for two
additional reasons. Several New York courts have already addressed
the question of FAPA’s retroactivity, and we expect that the Court of
Appeals will eventually render a decision on the issue. Moreover,
FAPA “is susceptible of an interpretation that would eliminate the
constitutional issue” in this case. Tunick v. Safir, 209 F.3d 67, 75 (2d Cir.
2000) (internal quotation marks omitted). “Normally this Court ought
not to consider the Constitutionality of a state statute in the absence
of a controlling interpretation of its meaning and effect by the state


4See Brief of Amici Curiae New York Bankers Ass’n et al. in Support of
Defendant-Appellant at 18-22; Brief of Amicus Curiae United Jewish
Organizations of Williamsburg, Inc. in Support of Plaintiff-Appellee at 4-8.

                                     17
    Case 23-659, Document 121, 10/01/2024, 3634865, Page18 of 18




courts.” Nicholson v. Scoppetta, 344 F.3d 154, 167 (2d Cir. 2003) (quoting
Arizonans, 520 U.S. at 75). Accordingly, we seek such a controlling
interpretation here.

                            CONCLUSION

       We certify the following question to the New York Court of
Appeals:

       Whether Sections 4 and/or 8 of the Foreclosure Abuse
       Prevention Act, codified at N.Y. C.P.L.R. 203(h) and
       3217(e), respectively, apply to a unilateral voluntary
       discontinuance taken prior to the Act’s enactment.
The New York Court of Appeals may reformulate or expand on this
question as it sees fit.

       It is hereby ordered that the Clerk of this Court transmit to the
Clerk of the New York Court of Appeals this opinion as our
certificate, together with a complete set of briefs, appendices, and the
record filed in this case by the parties. We retain jurisdiction to resolve
this appeal after the New York Court of Appeals has responded to
this certification.




                                    18
